Case 1-19-43375-cec   Doc 12   Filed 06/28/19   Entered 06/28/19 12:44:22
       Case 1-19-43375-cec          Doc 12     Filed 06/28/19       Entered 06/28/19 12:44:22




                by the Trnstee·s Motion.

        8.      For the reasons set rorlh above. the Secured Creditor respectfully submits that the Debtor's

                request for loss mitigation in relation to the Real Property commonly known as 555 Union

                Hill Road. Marlboro. NJ 07726 should be denied.




       WHEREFORE, the Secured Creditor respectfully requests that the Honorable Court deny the

Debtor's request to enter into court-supervised loss mitigation efforts in relation to the Real Property

commonly known as 555 Union Hill Road, Marlboro, NJ 07726.




DATED:       June 28, 2019
             Westbury, NY



                                                         By
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